USCA4 Appeal: 25-1397   Doc: 3        Filed: 04/16/2025   Pg: 1 of 2


                                                                   FILED: April 16, 2025

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                    ___________________

                                       No. 25-1397 (L)
                                    (5:24-cv-00731-M-RJ)
                                    ___________________

        JUDGE JEFFERSON GRIFFIN

                    Plaintiff - Appellee

        v.

        ALLISON RIGGS

                    Intervenor - Appellant

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                    Defendant

         and

        NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
        ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
        ANDERSON

                    Intervenors

                                    ___________________

                                         No. 25-1398
                                    (5:24-cv-00731-M-RJ)
                                    ___________________
USCA4 Appeal: 25-1397    Doc: 3        Filed: 04/16/2025    Pg: 2 of 2


        JUDGE JEFFERSON GRIFFIN

                     Plaintiff - Appellee

        v.

        VOTEVETS ACTION FUND; NORTH CAROLINA ALLIANCE FOR
        RETIRED AMERICANS; SARAH SMITH; JUANITA ANDERSON

                     Intervenors - Appellants

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                     Defendant

         and

        ALLISON RIGGS; TANYA WEBSTER-DURHAM

                     Intervenors

                                     ___________________

                                          ORDER
                                     ___________________

               The court consolidates Case No. 25-1397 and Case No. 25-1398. Entry of

        appearance forms and disclosure statements filed by counsel and parties to the lead

        case are deemed filed in the secondary case.

                                                For the Court--By Direction

                                                /s/ Nwamaka Anowi, Clerk
